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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 08-20517-BC
v.                                                            Honorable Thomas L. Ludington

D-7 LUIZ VIZCARRA,

               Defendant.

__________________________________________/


    ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
DEFENDANT’S PLEA OF GUILTY AS TO COUNT ONE, AND TAKING THE RULE 11
               PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on June 2, 2009, by United States Magistrate Judge Charles

E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report on June 4,

2009, recommending that this Court accept the defendant’s plea of guilty. As of today’s date, no

party has filed any objections to the magistrate judge’s report and recommendation. The failure to

file objections to the report and recommendation waives any further right to appeal. Smith v. Detroit

Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Likewise, the failure to object

to the magistrate judge’s report releases the Court from its duty to independently review the record.

Thomas v. Arn, 474 U.S. 140, 149 (1985). However, the Court agrees with the findings and

conclusions of the magistrate judge.

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt

# 130] is ADOPTED.
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       It is further ORDERED that the defendant’s plea of guilty as to count one is ACCEPTED,

and the Rule 11 Plea Agreement [Dkt. # 127] is taken UNDER ADVISEMENT.


                                                      s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge

Dated: June 19, 2009


                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on June 19, 2009.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




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